              Case 1:19-bk-11923                     Doc 12          Filed 06/06/19 Entered 06/06/19 14:07:37             Desc Main
                                                                     Document     Page 1 of 3

 Fill in this information to identify your case:

 Debtor 1                  Jennifer L Tackett
                           First Name                       Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number            1:19-bk-11923
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         CCO Mortgage Corp.                                   Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        1015 22nd Street Portsmouth,                      Reaffirmation Agreement.
    property              OH 45662 Scioto County                            Retain the property and [explain]:
    securing debt:        Selling on Land Contract



    Creditor's         Chrysler Financial/TD Auto                           Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2017 Chevrolet Malibu 22000                       Reaffirmation Agreement.
    property              miles                                             Retain the property and [explain]:
    securing debt:



    Creditor's         Guild Mortgage Company                               Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        988 Lang Slocum Ridge Rd                          Reaffirmation Agreement.
    property              Wheelersburg, OH 45694                            Retain the property and [explain]:
                          Scioto County

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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           Case 1:19-bk-11923                        Doc 12          Filed 06/06/19 Entered 06/06/19 14:07:37                             Desc Main
                                                                     Document     Page 2 of 3

 Debtor 1      Jennifer L Tackett                                                                     Case number (if known)    1:19-bk-11923

    securing debt:



    Creditor's     Home Federal Svg & Loa                                   Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2005 Cadillac Escalade 150000                       Reaffirmation Agreement.
    property            miles                                               Retain the property and [explain]:
    securing debt:



    Creditor's     Ida Marie Noel                                           Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      1015 22nd Street Portsmouth,                        Reaffirmation Agreement.
    property            OH 45662 Scioto County                              Retain the property and [explain]:
    securing debt:      Selling on Land Contract

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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           Case 1:19-bk-11923                        Doc 12          Filed 06/06/19 Entered 06/06/19 14:07:37                        Desc Main
                                                                     Document     Page 3 of 3

 Debtor 1      Jennifer L Tackett                                                                    Case number (if known)   1:19-bk-11923


 X     /s/ Jennifer L Tackett                                                       X
       Jennifer L Tackett                                                               Signature of Debtor 2
       Signature of Debtor 1

       Date        June 6, 2019                                                     Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                    page 3

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